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                      Inner City Press
February 17, 2025
By ECF, to all parties
Hon. Dale E. Ho, United States District Judge
Southern District of New York, 40 Foley Square, New York, NY 10007
Re: Press application to unseal the "Sealed Documents Placed in Vault" and all
other withheld information in USA v. Eric Adams, 24-cr-556 (DEH)
Dear Judge Ho:
  Inner City Press has been covering the above captioned case in which the
Department of Justice on February 14, 2025 filed a motion seeking dismissal of all
charges against NYC Mayor Eric Adams, "without prejudice."
 On February 12, 2025 as Dkt No. 117 on PACER it was stated "SEALED
DOCUMENT placed in vault." This is a second request to unseal this and all other
sealed and/or redacted documents in this case, given the public interest - and/or
initially, to have the filer(s) make a public argument for sealing under Lugosch v.
Pyramid Co. of Onondaga, 435 F.3d 110, 119 (2d Cir. 2006) - which states, "The
common law right of public access to judicial documents is firmly rooted in our
nation's history." In this case it is imperative there be access to the entire docket.
  At a recent meeting of this Court's Media Access Committee it was suggested
that such request should be made in writing to the District Judge, into the docket.
But it would seem to be up to the Court to require a public filing under Lugosch,
and/or to unseal as much of the submissions as possible.
  Please docket this challenge to the sealings and redactios in this case, as SDNY
Judges Hellerstein, Castel, Caproni, Furman and others have done. See, e.g.,
https://storage.courtlistener.com/recap/gov.uscourts.nysd.516151/gov.uscourts.nys
d.516151.85.0.pdf .
 If appropriate, PLEASE TAKE NOTICE that Inner City Press and its undersigned
reporter, in personal capacity, will move this Court before Honorable Dale E. Ho,
U.S. District Judge for the Southern District of New York, at a date and time
directed by the Court, for entry of an order granting permission to be heard on
sealing or unsealing of the "SEALED DOCUMENTS placed in vault" and all other
sealed and/or redacted documents in this case.
Inner City Press: In-house SDNY: Room 480, 500 Pearl Street, NY NY 10007
E-mail: Matthew.Lee@innercitypress.com - Tel: 718-716-3540
Regular Mail: Dag Hammarskjold Center, Box 20047, New York, NY 10017
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          If deemed necessary, this now is a request to intervene, see United States v. All
        Funds on Deposit at Wells Fargo Bank, 643 F. Supp. 2d 577, 580 (S.D.N.Y. 2009)
          This request is being submitted as Inner City Press did in USA v. Bankman-
        Fried, et al., 22-cr-673 (LAK) at Dkt 31, granted by Judge Kaplan at Dkt 41 & 57.
              Please act on this request, as soon as possible.
        Thank you.
        Respectfully submitted,
        /s/
        Matthew Russell Lee, Inner City Press
        cc: derek.wikstrom@usdoj.gov, alexspiro@quinnemanuel.com
APPLICATION GRANTED.

Inner City Press ("ICP") seeks unsealing of ECF No. 117, an ex parte Order pursuant to Section 4 of the
Classified Information Procedures Act (the "Section 4 CIPA Order"). See ECF No. 126. On April 3,
2025, the Court set a deadline of April 17, 2025, for any party to oppose ICP's request. See ECF No.
180. To date, no such opposition has been filed.

As an order of this Court, the Section 4 CIPA Order is undoubtedly a judicial document. The
presumption of public access is particularly strong with respect to court orders “in view of the public's
legitimate interest in monitoring Article III courts and the longstanding values of openness and self-
governance upon which that interest is grounded.” United States v. Yeghoyan, No. 20 Crim. 652, 2024
WL 2945976, at *1 (S.D.N.Y. June 11, 2024).

As for countervailing interests, the Court placed the Section 4 CIPA Order under seal because it
references potential defense theories in this matter. Cf. United States v. Liu, No. 19 Crim. 804, 2021 WL
3374535, at *l (S.D.N.Y. Aug. 3, 2021); United States v. Shestakov, No. 23 Crim. 16, 2024 WL
5239040, at *2 (S.D.N.Y. Dec. 27, 2024). However, in light of the Court's decision dismissing this case
with prejudice, see ECF No. 177, that interest no longer justifies keeping the Section 4 CIPA Order
under seal. Indeed, Defendant Mayor Adams has not opposed ICP's motion, effectively consenting to
unsealing of the Order.

Accordingly, the Section 4 CIPA Order, ECF No. 117, shall be unsealed and placed on the public docket
by the Court.

SO ORDERED

Dated: April 25, 2025
New York, New York
                              Dale E. Ho
                              United States District Judge
